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NVB 4001 (Rev. 12/15)




                                    * * § 362 INFORMATION SHEET * *

      Gump's Holdings, LLC et al.                 18-14683-LEB
     DEBTOR                                       BK-                                MOTION #:
      Expeditors Intl. of Washington,Inc          CHAPTER: 11
     MOVANT
                       Certification of Attempt to Resolve the Matter Without Court Action:
     Moving counsel hereby certifies that pursuant to the requirements of LR 4001(a)(2), an attempt has
     been made to resolve the matter without court action, but movant has been unable to do so.
     Date: 9/5/2018                                   Signature: /s/ H. Stan Johnson
                                                                      Attorney for Movant

     PROPERTY INVOLVED IN THIS MOTION: Cargo
     NOTICE SERVED ON: Debtor(s)          ; Debtor's counsel          ; Trustee                      ;
     DATE OF SERVICE: 9/5/2018
          MOVING PARTY'S CONTENTIONS:                     DEBTOR'S CONTENTIONS:
     The EXTENT and PRIORITY of LIENS:             The EXTENT and PRIORITY of LIENS:

     1st $80,000 owed on shipping contracts              1st
     2nd                                                 2nd
     3rd                                                 3rd
     4th                                                 4th
     Other:                                              Other:
     Total Encumbrances: $80,000                         Total Encumbrances:

     APPRAISAL of OPINION as to VALUE:                   APPRAISAL of OPINION as to VALUE:
       $174,000




            TERMS of MOVANT'S CONTRACT                         DEBTOR'S OFFER of "ADEQUATE
                 with the DEBTOR(S)::                            PROTECTION"for MOVANT :


     Amount of Note: $80,000                              .
     Interest Rate:                                       .
     Duration:                                            .
     Payment per Month:                                   .
     Date of Default:                                     .
     Amount in Arrears: $80,000                           .
     Date of Notice of Default:                           .
     SPECIAL CIRCUMSTANCES:                               SPECIAL CIRCUMSTANCES:
       Value of cargo may be depreciating and
       expenses and fees are being incurred
     SUBMITTED BY: H. Stan Johnson                        SUBMITTED BY:
                    /s/ H. Stan Johnson
                                                          SIGNATURE:
                                                                          Case 18-14683-leb       Doc 136        Entered 09/06/18 20:27:47     Page 2 of 12


                                                                      1   COHEN JOHNSON PARKER EDWARDS
                                                                          H. STAN JOHNSON, ESQ.
                                                                      2   Nevada Bar No.: 00265
                                                                          sjohnson@cohenjohnson.com
                                                                      3
                                                                          RYAN D. JOHNSON, ESQ.
                                                                      4   Nevada Bar No.: 14724
                                                                          375 E. Warm Springs Rd. Ste 104
                                                                      5   Las Vegas, NV 89119
                                                                          Telephone: (702) 823-3500
                                                                      6   Facsimile: (702) 823-3400
                                                                      7
                                                                          Attorneys for Expeditors International of Washington, Inc.
                                                                      8

                                                                      9                              UNITED STATES BANKRUPTCY COURT

                                                                     10                                    FOR THE DISTRICT OF NEVADA
COHEN JOHNSON PARKER EDWARDS




                                                                     11   In re
                                                                                                                                       Case No.: BK-S-18-14683-LEB
                                                                     12   GUMP’s HOLDINGS, LLC et al.                                            Chapter 11
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13
                                (702) 823-3500 FAX: (702) 823-3400




                                                                                                 Debtors                                 Jointly Administered with:
                                      Las Vegas, Nevada 89119




                                                                     14
                                                                                                                                  No.: BK-S-14684 (In re Gum’s Corp.)
                                                                     15                                                       No.: BK-S-14685 (In re Gump’s By Mail, Inc.)

                                                                     16                                                       Hearing Date: OST Pending
                                                                                                                              Hearing Time: OST Pending
                                                                     17          Affects this Debtor
                                                                     18          Affects all Debtors
                                                                                 Affects Gump’s Corp.
                                                                     19          Affects Gump’s By Mail, Inc.

                                                                     20

                                                                     21
                                                                               MOTION BY EXPEDITORS INTERNATIONAL OF WASHINGTON, INC.
                                                                     22   FOR ADEQUATE PROTECTION AND FOR RELIEF FROM THE AUTOMATIC STAY
                                                                     23

                                                                     24
                                                                                   COMES NOW, Creditor Expeditors International of Washington, Inc., by and through their
                                                                     25

                                                                     26   counsel of record, Cohen Johnson Parker Edwards, and hereby submits this Motion by Expeditors

                                                                     27   International of Washington, Inc. for Adequate Protection and For Relief from the Automatic Stay.

                                                                     28            This Expeditors Motion is based upon the following Memorandum of Points and
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                                                                      1   Authorities, the Declaration of H. Stan Johnson, the Declaration of Matt Littleton, the pleadings

                                                                      2   and papers on file, and any oral argument at the time of a hearing on this Expeditors Motion.
                                                                      3
                                                                                 Dated this 6th day of September 2018.
                                                                      4
                                                                                                                       COHEN JOHNSON PARKER EDWARDS
                                                                      5
                                                                                                                       By: /s/ H. Stan Johnson           _____
                                                                      6                                                H. STAN JOHNSON, ESQ.
                                                                                                                       Nevada Bar No. 00265
                                                                      7                                                RYAN D. JOHNSON, ESQ.
                                                                                                                       Nevada Bar No. 14724
                                                                      8                                                375 E. Warm Springs Road, Suite 104
                                                                                                                       Las Vegas, Nevada 89119
                                                                      9

                                                                     10
COHEN JOHNSON PARKER EDWARDS




                                                                     11                      MEMORANDUM OF POINTS AND AUTHORITIES
                                                                     12
                                                                                                                INTRODUCTION
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13
                                (702) 823-3500 FAX: (702) 823-3400




                                                                                 Expeditors International of Washington, Inc., for itself and its subsidiaries and affiliates
                                      Las Vegas, Nevada 89119




                                                                     14
                                                                          (collectively, “Expeditors”), is a secured creditor of debtor-in-possession Gump’s by Mail, Inc.
                                                                     15
                                                                          (the “Debtor”). Expeditors holds possessory liens on goods (the “Petition Date Cargo”) having a
                                                                     16

                                                                     17   commercial invoice value of approximately $174,000. See, Exhibit A.

                                                                     18          As a secured creditor, Expeditors is entitled to maintain perfection of its liens through
                                                                     19   possession under Bankruptcy Code § 546(b). Such perfection is expressly excluded from the
                                                                     20
                                                                          automatic stay under Bankruptcy Code § 362(b)(3). Expeditors is entitled to retain possession,
                                                                     21
                                                                          custody and control of the Petition Date Cargo until it receives full satisfaction of, or other
                                                                     22
                                                                          adequate protection for, its pre-petition secured claims of approximately $80,000.
                                                                     23

                                                                     24          The Petition Date Cargo accrues storage, demurrage, detention, and other charges, and the

                                                                     25   value of the collateral may be decreasing. Further, consignors of the Petition Date Cargo have

                                                                     26   demanded that Expeditors stop the goods in transit and reconsign them.
                                                                     27          Therefore, Expeditors seeks Court-approved adequate protection and relief from the
                                                                     28
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                                                                      1   automatic stay.

                                                                      2                                          Jurisdiction and Venue
                                                                      3
                                                                                  1. This Court has jurisdiction over this Expeditors Motion under 28 U.S.C. § 1334. This
                                                                      4
                                                                          is a core proceeding under 28 U.S.C. § 157(b)(2), and venue is proper under 28 U.S.C. §§ 1408
                                                                      5
                                                                          and 1409.
                                                                      6
                                                                                                                    Statement of Facts1
                                                                      7

                                                                      8           2. Expeditors is a non-vessel owned common carrier (“NVOCC”), freight forwarder,

                                                                      9   customs broker, and provider of distribution and other logistics services.
                                                                     10           3. On August 3, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for relief
COHEN JOHNSON PARKER EDWARDS




                                                                     11
                                                                          under Chapter 11 of the U.S. Bankruptcy Code, 11 U.S.C. §§ 101 et seq.
                                                                     12
                                                                                  4. Before the Petition Date, Expeditors provided transportation and other logistics
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13
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                                                                          services to the Debtor. In the course of performing services, Expeditors acquired possession,
                                      Las Vegas, Nevada 89119




                                                                     14

                                                                     15   custody and control of goods belonging to the Debtor or in which the Debtor claims an interest

                                                                     16   and various commercial documents, including documents of title.

                                                                     17           5. Expeditors’ services are governed by the following pre-petition agreements
                                                                     18   (collectively, the “Contracts”):
                                                                     19
                                                                                          (a) Gump’s by Mail, Inc.’s Application for Credit (true copy of which is attached
                                                                     20           hereto as Exhibit B).
                                                                     21                  (b) Bills of lading issued by Expeditors (a true copy of the bill of lading terms and
                                                                     22           conditions is attached hereto as Exhibit C).

                                                                     23           6. The Application for Credit provides as follows:
                                                                     24
                                                                                          As security for any existing and future indebtedness and obligations
                                                                     25                   of the Customer [Debtor] to the Company [Expeditors], including
                                                                                          claims for charges, expenses or advances incurred by the Company
                                                                     26
                                                                     27   1
                                                                           The Declaration of H. Stan Johnson, Esq. is attached hereto as Exhibit E in support of this motion and the
                                                                          Declaration of Matt Littleton is attached hereto as Exhibit D in support of this motion.
                                                                     28
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                                                                      1                  in connection with any shipment or transaction of the Customer, and
                                                                                         whether or not presently contemplated by the Customer and the
                                                                      2
                                                                                         Company, the Customer hereby grants to the Company a continuing
                                                                      3                  lien and security interest in any and all property of the Customer
                                                                                         (including goods and documents relating thereto) now or hereafter
                                                                      4
                                                                                         in the Company’s possession, custody or control or en route (the
                                                                      5                  “Collateral”). This lien and security interest shall be in addition to
                                                                                         any other rights the Company has or may acquire under any other
                                                                      6
                                                                                         agreements and/or applicable law and shall survive delivery or
                                                                      7                  release of any Collateral.

                                                                      8
                                                                                 7. Paragraph 16(a) of Expeditors’ bill of lading terms and conditions also provides for a
                                                                      9
                                                                          carrier’s lien that attaches to all goods for all charges, including for prior shipments.
                                                                     10
                                                                                 8. By virtue of the Contracts and applicable law, Expeditors holds maritime and other
COHEN JOHNSON PARKER EDWARDS




                                                                     11
                                                                          carrier’s liens on the Petition Date Cargo and other property of the Debtor’s estate, as well as a
                                                                     12
                                                                          consensual security interest in such property.
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                                                                     13
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                                      Las Vegas, Nevada 89119




                                                                     14          9. As of the Petition Date, the Debtor owed Expeditors the aggregate amount of
                                                                     15   approximately $80,000 (the “Claim”) for freight charges, storage, customs duties, demurrage,
                                                                     16
                                                                          detention and other charges related to the transportation and storage of goods.
                                                                     17
                                                                                 10. As of the Petition Date, Expeditors had possession, custody or control of the Petition
                                                                     18
                                                                          Date Cargo. Expeditors retains possession, custody or control of the Petition Date Cargo.
                                                                     19
                                                                     20          11. The commercial invoice value of the Petition Date Cargo is approximately $174,000.

                                                                     21          12. The value of the Petition Date Cargo may be declining.

                                                                     22          13. Expeditors’ Claim continues to accrue on the Petition Date Cargo for demurrage,
                                                                     23   detention, storage, and other delay-related costs.
                                                                     24
                                                                                 14. Before the Petition Date, the Debtor defaulted on its obligations to Expeditors.
                                                                     25
                                                                          Pursuant to non-bankruptcy law and the Contracts, Expeditors justifiably retained possession,
                                                                     26
                                                                          custody and control of the Petition Date Cargo and related documents, pending its receipt of
                                                                     27

                                                                     28   payment or other adequate protection for its liens and security interests.

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                                                                      1          15. Promptly on learning of the commencement of this case, Expeditors contacted the

                                                                      2   Debtor’s counsel to inform the Debtor of Expeditors’ liens and security interest. Expeditors
                                                                      3
                                                                          further tendered the Petition Date Cargo in exchange for payment or other adequate protection
                                                                      4
                                                                          for Expeditors’ interest in the Petition Date Cargo. Expeditors proceeded in this manner pursuant
                                                                      5
                                                                          to World Imports, Ltd. v. OEC Group New York (In re World Imports, Ltd.), 820 F.3d 576 (3d
                                                                      6
                                                                          Cir. 2016), cert. denied, 137 S. Ct. 340 (2016), and Expeditors Int’l of Washington, Inc. v.
                                                                      7

                                                                      8   Colortran, Inc. (In re Colortran, Inc.), 218 B.R. 507 (Bankr. 9th Cir. 1997), aff’d 165 F.3d 35,

                                                                      9   1998 WL 792307 (9th Cir. 1998).
                                                                     10          16. Despite these efforts, the Debtor has not made timely payment on mutually-
COHEN JOHNSON PARKER EDWARDS




                                                                     11
                                                                          acceptable terms or otherwise provided adequate protection for Expeditors’ interests in the
                                                                     12
                                                                          Petition Date Cargo. As a result, Expeditors filed this Expeditors Motion.
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                                                                     13
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                                                                                                                      Argument
                                      Las Vegas, Nevada 89119




                                                                     14

                                                                     15   I.     EXPEDITORS HOLDS VALID, PERFECTED, AND ENFORCEABLE LIENS
                                                                                 AND SECURITY INTERESTS IN THE PETITION DATE CARGO.
                                                                     16
                                                                                 A.      EXPEDITORS HOLDS MARITIME CARRIER’S LIENS.
                                                                     17
                                                                                 17. An ocean carrier holds a maritime lien on all goods in its possession, custody, or
                                                                     18
                                                                          control. See 4,885 Bags of Linseed, 66 U.S. 108 (1861); Gracie v. Palmer, 21 U.S. 605 (1823);
                                                                     19
                                                                          and Arochem Corp. v. Wilomi, Inc., 962 F.2d 496, 499-500 (5th Cir. 1992).
                                                                     20
                                                                                 18. An NVOCC such as Expeditors also holds a maritime carrier’s lien on the goods in its
                                                                     21

                                                                     22   possession, custody or control. World Imports, Ltd., supra; and Logistics Management, Inc. v.

                                                                     23   One Pyramid Tent Arena, 86 F.3d 908, 913-914 (9th Cir. 1996).
                                                                     24          19. When Expeditors took possession of goods at point of origin, Expeditors issued
                                                                     25
                                                                          documents of title evidencing its receipt of the goods for shipment purposes and its contract of
                                                                     26
                                                                          carriage. Therefore, Expeditors acquired a valid and enforceable maritime lien on the goods.
                                                                     27
                                                                                 20. Further, under the Contracts, Expeditors’ maritime liens survived delivery of prior
                                                                     28
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                                                                      1   shipments and extended to the Petition Date Cargo. See, e.g., World Imports, Ltd., supra

                                                                      2   (enforcing language substantially identical to the Application for Credit in the case at bar);
                                                                      3
                                                                          Arochem Corp., supra; and Capitol Transportation, Inc. v. United States, 612 F.2d 1312, 1324-
                                                                      4
                                                                          25 (1st Cir. 1979).
                                                                      5

                                                                      6          B.      EXPEDITORS HOLDS UCC CARRIER’S LIENS.
                                                                      7          21. “A carrier has a lien on the goods covered by a bill of lading or on the proceeds
                                                                      8   thereof in its possession for charges after the date of the carrier’s receipt of the goods for storage
                                                                      9
                                                                          or transportation, including demurrage and terminal charges, and for expenses necessary for
                                                                     10
                                                                          preservation of the goods incident to their transportation or reasonably incurred in their sale
COHEN JOHNSON PARKER EDWARDS




                                                                     11
                                                                          pursuant to law.” UCC § 7-307(a) (2003).2
                                                                     12
                                                                                 22. Therefore, Expeditors holds a carrier’s lien under the Uniform Commercial Code.
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                                                                     13
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                                                                     14
                                                                                 C.      EXPEDITORS HOLDS A UCC ARTICLE 9 SECURITY INTEREST.
                                                                     15
                                                                                 23. A security interest attaches to collateral, if the debtor gives the secured creditor a
                                                                     16
                                                                          security agreement, the secured creditor gives value, and the debtor has rights in the collateral or
                                                                     17

                                                                     18   the power to transfer rights to the secured party. UCC § 9-203(b) (2010).

                                                                     19          24. As set forth above, in the Contracts the Debtor granted to Expeditors a security

                                                                     20   interest in all goods and other property at any time in Expeditors’ possession, custody or control
                                                                     21   or en route.
                                                                     22
                                                                                 25. This constitutes a valid security agreement. Paul Harris Stores, Inc. v. Expeditors
                                                                     23
                                                                          Int’l of Washington, Inc., 342 B.R. 290 (Bankr. S.D. Ind. 2006) (interpreting substantially
                                                                     24
                                                                          identical language). See, also, Colortran, Inc., supra (interpreting a similar lien clause in
                                                                     25

                                                                     26
                                                                     27   2
                                                                           The applicable Uniform Commercial Code provisions are identical in substance to the Uniform
                                                                          Commercial Code’s. For simplicity, Expeditors cites to the Official Text.
                                                                     28
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                                                                      1   Expeditors’ Terms and Conditions of Service); Expeditors Int’l v. Wang Laboratories, Inc., 1995

                                                                      2   WL 791935 (D. Mass. 1995) (same).
                                                                      3

                                                                      4   II.    EXPEDITORS’ LIENS AND SECURITY INTEREST ARE PERFECTED.

                                                                      5          26. Expeditors perfected its liens and security interest by possession, custody and control

                                                                      6   of the Petition Date Cargo, and Expeditors remains in possession, custody and control of the

                                                                      7   Petition Date Cargo and related documents. See, e.g., UCC §§ 7-307 (2003) and 9-313 (2010).
                                                                      8
                                                                          III.   EXPEDITORS’ LIENS AND SECURITY INTEREST ARE FIRST-PRIORITY
                                                                      9          INTERESTS.
                                                                     10          A.      EXPEDITORS’ CARRIER’S LIENS ARE SENIOR TO ANY SECURITY
                                                                                         INTEREST.
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                                                                     11
                                                                                 27. Every possessory lien for services that arises under non-UCC law has priority over a
                                                                     12
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13   competing security interest unless the lien arises by statute and specifies that the competing
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                                      Las Vegas, Nevada 89119




                                                                     14   security interest has priority. UCC § 9-333 (2010).
                                                                     15          28. As shown above, Expeditors holds valid and perfected carrier’s liens on the Petition
                                                                     16
                                                                          Date Cargo. These liens constitute “possessory liens” under UCC § 9-333.
                                                                     17
                                                                                 29. These carrier’s liens have priority over competing security interests. First,
                                                                     18
                                                                          Expeditors’ maritime lien arises under federal common law, so it is also senior to the claims of
                                                                     19
                                                                     20   other secured parties. 4,885 Bags of Linseed, supra; Gracie v. Palmer, supra. Second,

                                                                     21   Expeditors’ UCC Article 7 lien is effective against, and therefore senior to, other secured parties.

                                                                     22   UCC §§ 7-307(b) (2003) and 9-333 (2010).
                                                                     23
                                                                                 B.      EXPEDITORS’         SECURITY        INTEREST        HAS     PURCHASE-MONEY
                                                                     24                  PRIORITY.
                                                                     25          30. A security interest is a purchase-money security interest to the extent that the
                                                                     26
                                                                          collateral secures a purchase-money obligation. UCC § 9-103(b)(1) (2010). Further, a purchase-
                                                                     27
                                                                          money security interest is automatically cross-collateralized. UCC § 9-103(b)(2) (2010).
                                                                     28
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                                                                      1          31. A purchase-money obligation is “an obligation of an obligor incurred as all or part of

                                                                      2   the price of the collateral or for value given to enable the debtor to acquire rights in or the use of
                                                                      3
                                                                          the collateral if the value is in fact so used.” UCC § 9-103(a)(2) (2010). The price or value
                                                                      4
                                                                          includes:
                                                                      5
                                                                                         obligations for expenses incurred in connection with acquiring
                                                                      6
                                                                                         rights in the collateral, sales taxes, duties, finance charges, interest,
                                                                      7                  freight charges, costs of storage in transit, demurrage,
                                                                                         administrative charges, expenses of collection and enforcement,
                                                                      8                  attorney’s fees, and other similar obligations.
                                                                      9
                                                                          UCC § 9-103 cmt. 3 (emphasis added).
                                                                     10
                                                                                 32. A purchase-money security interest is entitled to priority over other security interests,
COHEN JOHNSON PARKER EDWARDS




                                                                     11
                                                                          even if the other security interests were perfected earlier in time. UCC § 9-324(b) (2010).
                                                                     12
                                                                                 33. Expeditors took possession at origin and transported same for the Debtor at
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13
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                                      Las Vegas, Nevada 89119




                                                                     14   destination. Without the services provided by Expeditors, the goods could not be available to the
                                                                     15   Debtor for sale. Therefore, Expeditors holds a purchase-money security interest in the goods.
                                                                     16
                                                                                 34. Because purchase-money security interests are cross-collateralized, Expeditors’
                                                                     17
                                                                          purchase-money priority status in the Petition Date Cargo extends to all of Expeditors’ Claims.
                                                                     18
                                                                                 35. Therefore, Expeditors’ purchase-money security interest in the Petition Date Cargo
                                                                     19
                                                                     20   has first priority over competing security interests.

                                                                     21
                                                                          IV.    EXPEDITORS IS ENTITLED TO ADEQUATE PROTECTION FOR ITS
                                                                     22          INTERESTS IN THE PETITION DATE CARGO.

                                                                     23          36. A secured creditor has the right to adequate protection of its interests in collateral

                                                                     24   before a debtor may use, sell or lease such property. 11 U.S.C. § 363(c)(2) (as to cash collateral)
                                                                     25   and § 363(e) (as to all other property).
                                                                     26
                                                                                 37. Further, notwithstanding the automatic stay, the holder of a possessory lien may
                                                                     27
                                                                          retain possession of the collateral pending receipt of adequate protection for lien. 11 U.S.C. §§
                                                                     28
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                                                                      1   362(b)(3) and 546(b)(1)(B).

                                                                      2            38. Expeditors’ release of the Petition Date Cargo and documents of title in its
                                                                      3
                                                                          possession, custody or control without receiving adequate protection of its liens and security
                                                                      4
                                                                          interests endangers Expeditors’ liens and security interests.
                                                                      5
                                                                                   39. Therefore, Expeditors is entitled to retain possession, custody and control of the
                                                                      6
                                                                          Petition Date Cargo until it receives adequate protection for its interests in the Petition Date
                                                                      7

                                                                      8   Cargo.

                                                                      9
                                                                          V.       WITHOUT PAYMENT OR OTHER ADEQUATE PROTECTION, EXPEDITORS
                                                                     10            IS ENTITLED TO RELIEF FROM THE AUTOMATIC STAY.
COHEN JOHNSON PARKER EDWARDS




                                                                     11            40. In the absence of payment or other adequate protection, a secured creditor is entitled
                                                                     12   to relief from the automatic stay. 11 U.S.C. § 362(d)(1).
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                                                                     13
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                                                                                   41. A secured creditor is also entitled to relief from the automatic stay if the debtor has
                                      Las Vegas, Nevada 89119




                                                                     14
                                                                          no equity in the property and the property is not necessary to an effective reorganization. 11
                                                                     15
                                                                          U.S.C. § 362(d)(2).
                                                                     16

                                                                     17            42. In the case at bar, on information and belief, to the extent that any secured party’s

                                                                     18   security interest is valid, the Debtor lacks equity in the Petition Date Cargo, because the

                                                                     19   combined amount of Expeditors’ Claims and the amounts due other secured creditors exceed the
                                                                     20   value of the Petition Date Cargo.
                                                                     21
                                                                                   43. On information and belief, the Petition Date Cargo is not necessary to an effective
                                                                     22
                                                                          reorganization of the Debtor. 11 U.S.C. § 362(d)(2).
                                                                     23
                                                                                   44. Further, on information and belief, the value of Expeditors’ interests in the Petition
                                                                     24

                                                                     25   Date Cargo are declining, because secured charges continue to accrue on the Petition Date Cargo

                                                                     26   for demurrage, detention, storage, and other delay-related costs. Therefore, it is essential that the
                                                                     27   automatic stay be terminated quickly to mitigate potential loss and expense to Expeditors.
                                                                     28
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                                                                      1

                                                                      2
                                                                          VI.    EXPEDITORS IS ENTITLED TO RELIEF FROM THE AUTOMATIC STAY TO
                                                                      3          ADDRESS SHIPPERS’ STOPPAGE AND RECONSIGNMENT CLAIMS.
                                                                      4          45. Multiple shippers (consignors) of Petition Date Cargo have demanded that Expeditors
                                                                      5
                                                                          stop the shippers’ goods in transit and reconsign their goods. This right to stop and reconsign
                                                                      6
                                                                          goods in transit is senior to the rights of the Debtor’s secured creditors. See, e.g., In re Kellstrom
                                                                      7
                                                                          Indus. Inc., 282 B.R. 787 (Bankr. D. Del. 2002); see also Ramco Steel, Inc. v. Kesler (In re
                                                                      8
                                                                          Murdock Mach. & Eng’g Co.), 620 F.2d 767 (10th Cir. 1980).
                                                                      9

                                                                     10          46. The shippers allege that the automatic stay does not stop them from exercising their
COHEN JOHNSON PARKER EDWARDS




                                                                     11   right to stop and reconsign goods in transit. In re National Sugar Refining Co., 27 B.R. 565 (S.D.
                                                                     12   N.Y. 1983). However, Expeditors is uncertain whether the automatic stay applies to these
                               375 E. WARM SPRINGS RD., Ste. 104




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                                                                          demands and, therefore, whether Expeditors may honor them without approval by this Court.
                                      Las Vegas, Nevada 89119




                                                                     14
                                                                                 47. Expeditors has made no prior request to this Court for the relief sought in this
                                                                     15
                                                                          Expeditors Motion.
                                                                     16

                                                                     17          WHEREFORE, Expeditors prays that this Court:

                                                                     18          (a) Authorize Expeditors to continue possession of the Petition Date Cargo to allow

                                                                     19   Expeditors to maintain perfection of its possessory liens on the Petition Date Cargo.
                                                                     20          (b) Order the Debtor to give Expeditors adequate protection for its interests in the
                                                                     21
                                                                          Petition Date Cargo through payment of Expeditors’ Claims or such other terms and conditions
                                                                     22
                                                                          that give Expeditors the indubitable equivalent of its liens and security interests in the Petition
                                                                     23
                                                                          Date Cargo (including the preservation of its liens and security interests and the proceeds
                                                                     24

                                                                     25   thereof); or, in the alternative, modify the stay, to permit Expeditors to foreclose its said liens

                                                                     26   and security interests in the Petition Date Cargo.
                                                                     27          (c) Modify the automatic stay to permit Expeditors to honor stoppage and reconsignment
                                                                     28
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                                                                          Case 18-14683-leb     Doc 136     Entered 09/06/18 20:27:47        Page 12 of 12


                                                                      1   claims by shippers.

                                                                      2          (d) Waive the 14-day stay provided for in Fed. R. Bankr. P. 4001(a)(3).
                                                                      3
                                                                                 (e) Award Expeditors such other and further relief as this Court deems appropriate.
                                                                      4
                                                                                                                          Respectfully Submitted,
                                                                      5

                                                                      6    Dated this 6th day of September 2018.          COHEN JOHNSON PARKER EDWARDS

                                                                      7                                                   /s/ H. Stan Johnson_____________
                                                                      8                                                   H. STAN JOHNSON, ESQ.
                                                                                                                          Nevada Bar No. 00265
                                                                      9                                                   RYAN D. JOHNSON, ESQ.
                                                                                                                          Nevada Bar No. 14724
                                                                     10
                                                                                                                          375 E. Warm Springs Road, Suite 104
COHEN JOHNSON PARKER EDWARDS




                                                                     11                                                   Las Vegas, Nevada 89119
                                                                                                                          Attorneys for Expeditors International of
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                                                                                                                          Washington, Inc.
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